             Case 19-00189-RLM-13                           Doc          Filed 07/02/20          EOD 07/02/20 13:14:16                     Pg 1 of 7
   )LOOLQWKLVLQIRUPDWLRQWRLGHQWLI\WKHFDVH

Debtor 1                 $PDOLD)UDQFHVFD$GHMXPR
                         ___B_______B_____BB_________BBBBB___________________________BBBBBBBB_


Debtor 2                 _______BB____________BBBBB_______________BBBBBBBBBBBBBBBBBB_BBBBBBBB_
(Spouse, if filing)

                                        6RXWKHUQ'LVWULFWRI,QGLDQD
8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH:BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

             
&DVHQXPEHUBBBBBBBBBBBBBBBBBBBBBBBBBB



 2IILFLDO)RUP 410S1
 1RWLFHRI0RUWJDJH3D\PHQW&KDQJH                                                                                                                     

 ,IWKHGHEWRU¶VSODQSURYLGHVIRUSD\PHQWRISRVWSHWLWLRQFRQWUDFWXDOLQVWDOOPHQWVRQ\RXUFODLPVHFXUHGE\DVHFXULW\LQWHUHVWLQWKH
 GHEWRU¶VSULQFLSDOUHVLGHQFH\RXPXVWXVHWKLVIRUPWRJLYHQRWLFHRIDQ\FKDQJHVLQWKHLQVWDOOPHQWSD\PHQWDPRXQW)LOHWKLVIRUP
 DVDVXSSOHPHQWWR\RXUSURRIRIFODLPDWOHDVWGD\VEHIRUHWKHQHZSD\PHQWDPRXQWLVGXHSee Bankruptcy Rule 3002.1.
 1DPHRIFUHGLWRU                                                                                                           
                                                                                                 &RXUWFODLPQR LINQRZQ BBBBBBBBBBBBBBBBBBBBBBB
 :HOOV)DUJR%DQN1$




                                                                                                 'DWHRISD\PHQWFKDQJH
                                                                                                 Must be at least 21 days after date
                                                                                                 of this notice                            
                                                                                                                                           _____________


                                                                                                 1HZWRWDOSD\PHQW
                                                                                                                                            
                                                                                                                                           $____________BBBB
                                                                                                 Principal, interest, and escrow, if any
 /DVWGLJLWVof any number you use to
 LGHQWLI\WKHGHEWRU¶VDFFRXQW                                    ____
                                                                  ____  ____
                                                                           ____
                                                                              

   3DUW           (VFURZ$FFRXQW3D\PHQW$GMXVWPHQW

     :LOOWKHUHEHDFKDQJHLQWKHGHEWRU¶VHVFURZDFFRXQWSD\PHQW"

            No
        ✔
            <HV$WWDFKDFRS\RIWKHHVFURZDFFRXQWVWDWHPHQWSUHSDUHGLQDIRUPFRQVLVWHQWZLWKDSSOLFDEOHQRQEDQNUXSWF\ODZ'HVFULEHWKHEDVLV
             IRUWKHFKDQJH,IDVWDWHPHQWLVQRWDWWDFKHGH[SODLQZK\



                                        
             &XUUHQWHVFURZSD\PHQWBBBBBBBBBBBBBBBBB                                                                         
                                                                                                           1HZHVFURZSD\PHQWBBBBBBBBBBBBBBBBB

  3DUW0RUWJDJH3D\PHQW$GMXVWPHQW

     :LOOWKHGHEWRU¶VSULQFLSDODQGLQWHUHVWSD\PHQWFKDQJHEDVHGRQDQDGMXVWPHQWWRWKHLQWHUHVWUDWHRQWKHGHEWRU V
        YDULDEOHUDWHDFFRXQW"
        ✔
            No
            Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
             DWWDFKHGH[SODLQZK\



             &XUUHQWLQWHUHVWUDWHBBBBBBBBBBBBBBBBBB                                      1HZLQWHUHVWUDWHBBBBBBBBBBBBBBBBBB

             &XUUHQWSULQFLSDODQGLQWHUHVWSD\PHQW $ ______________BBB_                   1HZSULQFLSDODQGLQWHUHVWSD\PHQW $ ___________BBB____

  3DUW2WKHU3D\PHQW&KDQJH


        :LOOWKHUHEHDFKDQJHLQWKHGHEWRU¶VPRUWJDJHSD\PHQWIRUDUHDVRQQRWOLVWHGDERYH"
           ✔
               No
               Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)
            5HDVRQIRUFKDQJH



                      &XUUHQWPRUWJDJHSD\PHQWBBBBBBBBBBBBBBBBB                             1HZPRUWJDJHSD\PHQWBBBBBBBBBBBBBBBBB
                                                                                                 
 Official Form 410S1                                                  1RWLFHRI0RUWJDJH3D\PHQW&KDQJH                                              page 1
              $PDOLD)UDQFHVFD$GHMXPR                                                                           
        Case 19-00189-RLM-13
      Debtor 1                                 DocLast Name
                                                            Filed 07/02/20
              _____BB_________________________________________________
              First Name      Middle Name
                                                                                      EODCase
                                                                                          07/02/20        13:14:16
                                                                                              number (LINQRZQ)             Pg 2 of 7
                                                                                                                ______________________



 3DUW 6LJQ+HUH


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.


 &KHFNWKHDSSURSULDWHER[

    
    ✔   I am the creditor.

       I am the creditor’s authorized agent.



 ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKHLQIRUPDWLRQSURYLGHGLQWKLVFODLPLVWUXHDQGFRUUHFWWRWKHEHVWRIP\NQRZOHGJH
 LQIRUPDWLRQDQGUHDVRQDEOHEHOLHI




 8    /s/Debbie Hernandez
      BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
      Signature
                                                                                    07/02/2020
                                                                            'DWHBBBBBBBBBBBBBBB




 Print:BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
        HERNANDEZ,DEBBIE                                                           VP Loan Documentation
                                                                                  BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
        First Name           Middle Name      Last Name              7LWOH


 Company Wells Fargo Bank, N.A.
         _B____________________BB____________________________________

 Address    MAC N9286-01Y
            ___________________________B_________BB______BB______________
            Number                  Street

            1000 Blue Gentian Road
            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
            $GGUHVV

             Eagan                                   MN      55121-7700
            BBBB_______________________________________________BBBBBBBB__
              City                                       State      ZIPCode



                     800-274-7025                                                  NoticeOfPaymentChangeInquiries@wellsfargo.com
 Contact phone BBBBBBBBBBBBBBBBBBBBBBBBB                                         BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                  (PDLO




Official Form 410S1                                       1RWLFHRI0RUWJDJH3D\PHQW&KDQJH                                            page 
           Case 19-00189-RLM-13              Doc         Filed 07/02/20        EOD 07/02/20 13:14:16          Pg 3 of 7
                      UNITED STATES BANKRUPTCY COURT
                                                       Southern District of Indiana


                                                   Chapter 13 No. 1900189
                                                   Judge: Robyn L. Moberly

In re:
Amalia Francesca Adejumo
                                          Debtor s 

                                          CERTIFICATE OF SERVICE
I hereby certify that this Notice, including all attachments, is being served on or before July 06, 2020 via filing with the US
Bankruptcy Court's CM ECF system or by mailing or providing a copy of this document to a vendor for mailing: By U.S. Postal
Service First Class Main Postage Prepaid or FedEx.


Debtor:                            %\863RVWDO6HUYLFH)LUVW&ODVV0DLO3RVWDJH3UHSDLGRU)HG([
                                    Amalia Francesca Adejumo
                                    2010 St. Clifford Drive

                                    Indianapolis IN 46239-8982



                                   %\863RVWDO6HUYLFH)LUVW&ODVV0DLO3RVWDJH3UHSDLGRU)HG([
                                    N/A




Debtor’s Attorney:                 %\&RXUW V&0(&)V\VWHPUHJLVWHUHGHPDLODGGUHVV
                                    David A Mathies

                                    225 N Delaware St

                                    Indianapolis IN 46204-2137


                                   %\&RXUW V&0(&)V\VWHPUHJLVWHUHGHPDLODGGUHVV
                                    N/A




Trustee:                           %\&RXUW V&0(&)V\VWHPUHJLVWHUHGHPDLODGGUHVV
                                    John Morgan Hauber
                                    Office of John M. Hauber, Chapter 13 Trustee
                                    320 N. Meridian St., Ste. 200

                                    Indianapolis IN 46204

                                                          @@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@
                                                          /s/Debbie Hernandez
                                                           VP Loan Documentation
                                                            Wells Fargo Bank, N.A.
Case 19-00189-RLM-13     Doc Filed 07/02/20                                                  EOD 07/02/20 13:14:16                                 Pg 4 of 7
                 Return Mail Operations                                                      Escrow Review Statement
                                    PO Box 14547
                                                                                             For informational purposes only
                                    Des Moines, IA 50306-4547
                                                                                             Statement Date:                                    June 10, 2020
                                                                                             Loan number:
                                                                                             Property address:
                                                                                                   2010 ST CLIFFORD DRIVE
                                                                                                   INDIANAPOLIS IN 46239-8982


                                                                                             Customer Service
                                                                                                    Online                          Telephone
                                                                                                    wellsfargo.com                  1-800-340-0473
             AMALIA F RIVAS
                                                                                                    Correspondence                  Hours of operation
             2010 ST CLIFFORD DR                                                                    PO Box 10335                    Mon - Fri 7 a.m. - 7 p.m. CT
             INDIANAPOLIS IN 46239-8982                                                             Des Moines, IA 50306
                                                                                                    To learn more, go to:
                                                                                                    wellsfargo.com/escrow


                                                                                                      We accept telecommunications relay service calls



   PLEASE NOTE: If you are presently seeking relief (or have previously been granted
   relief) under the United States Bankruptcy Code, this statement is being sent to you
   for informational purposes only. The summaries below are based on the terms of the
   loan and are provided for informational purposes only.
   These amounts are governed by the terms of the loan unless otherwise reduced by an
   order of the bankruptcy court. Because the amounts billed for the escrow items can
   change over time, we review the escrow account at least once per year to ensure there
   will be enough money to make these payments. Once the review is complete, we send
   the escrow review statement, also known as the escrow account disclosure statement.
                                                                                                The escrow account has a shortage of
   Here's what we found:
        • Required Minimum Balance: The escrow account balance is projected to                               $390.33
           fall below the required minimum balance. This means there is a shortage.

        •   Payments: As of the August 1, 2020 payment, the contractual portion of the
            escrow payment increases.



     Part 1 - Mortgage payment

            Option 1                Pay the shortage amount over 12 months
                                     Previous payment through New payment beginning with
                                     07/01/2020 payment date   the 08/01/2020 payment
                                                                                                   Option 1: No action required
    Principal and/or interest                  $480.30                  $480.30

    Escrow payment                              $213.17                  $256.71               Starting August 1, 2020 the new contractual
    Total payment amount
                                                                                               payment amount will be $737.01
                                              $693.47                   $737.01

            Option 2                Pay the shortage amount of $390.33
                                     Previous payment through New payment beginning with
                                     07/01/2020 payment date   the 08/01/2020 payment
                                                                                                   Option 2: Pay shortage in full
    Principal and/or interest                  $480.30                  $480.30

    Escrow payment                              $213.17                  $224.18               Starting August 1, 2020 the new contractual
    Total payment amount                                                                       payment amount will be $704.48
                                              $693.47                  $704.48




                                                          See Page 2 for additional details.


                                           Note: If you are presently seeking relief (or have previously been granted relief) under the United
                                           States Bankruptcy Code, this coupon is being provided for informational purposes only. If your
                                           Chapter 13 plan calls for your Chapter 13 Trustee to make the on-going post-petition mortgage
                                           payments, please contact your attorney or the Trustee’s office before directly sending any
                                           amounts relating to this escrow shortage

                                                                     If you choose to pay the shortage in full as referenced in Option 2, detach this coupon
                                                                     and mail it along with a check for $390.33 to the address that appears on this coupon.
     AMALIA F RIVAS
                                                                     This payment must be received no later than August 1, 2020.


                 Wells Fargo Home Mortgage
                 PO Box 10394
                 Des Moines, IA 50306-0394




            708                           3 10 02 00071715 00070448 00110748 00039033 4
                                                                                                                                                Page 2 of 3
Case 19-00189-RLM-13                          Doc           Filed 07/02/20                  EOD 07/02/20 Loan
                                                                                                         13:14:16
                                                                                                              Number:                          Pg 5 of 7
        Part 2 - Payment calculations
   For the past review period, the amount of the escrow items was $3,121.65. For the coming year, we expect the amount paid from escrow to be
   $2,690.17.

   How was the escrow payment calculated?
   To determine the escrow payment, we add the projected escrow items to be paid over the next 12 months. We base these projected amounts on any
   escrow items that may have been paid in the past and any future anticipated payments to be made. We then divide the amounts by 12 payments to
   determine the escrow amount.

   The chart below includes any actual escrow disbursements as well as any shortage that may have been identified for the past three analysis periods up
   through the date of the analysis.



   Escrow comparison

                                                                                                                                          New monthly
                                      08/18 - 07/19     02/19 - 01/20      08/19 - 06/20    08/20 - 07/21
                                                                                                                         # of               escrow
                                        (Actual)          (Actual)           (Actual)        (Projected)
                                                                                                                        months              amount

   Property taxes                          $1,323.86          $1,410.72         $1,466.17       $1,466.17        ÷         12       =          $122.18
   Property insurance                      $1,089.00         $2,313.00         $1,224.00        $1,224.00        ÷         12       =          $102.00
   Total taxes and insurance               $2,412.86          $3,723.72        $2,690.17        $2,690.17        ÷         12       =         $224.18
   Escrow shortage                            $512.99            $0.00            $145.18        $390.33         ÷         12       =           $32.53**
   Mortgage insurance                        $530.40           $523.20           $431.48            $0.00        ÷         12       =            $0.00

   Total escrow                            $3,456.25         $4,246.92         $3,266.83        $3,080.50        ÷         12       =          $256.71


   **
    This amount is added to the payment if Option 1 on page 1 is selected.


   Projected escrow account activity over the next 12 months
   To determine if there will be a shortage or overage in the account, we calculate whether the amount of the lowest projected escrow balance will be
   greater or less than the required minimum balance. This is determined by subtracting the required minimum balance from the lowest projected
   balance. If the outcome is positive, there is an overage. If it is negative, there is a shortage. The calculation is below:


                                                                                                     (Calculated in Part 3 - Escrow account projections
   Lowest projected escrow balance April, 2021                                    -$512.52           table)

   Bankruptcy adjustment‡                                              +          $570.55

   Minimum balance for the escrow account†                             -          $448.36            (Calculated as: $224.18 X 2 months)


   Escrow shortage                                                     =         -$390.33


   ‡
    This adjustment of $570.55, is the remaining amount of the pre-petition escrow shortage included in our proof of claim being paid through the
   confirmed bankruptcy plan.
   †
    The minimum balance includes a cash reserve to help cover any increase in taxes and/or insurance. To calculate the cash reserve for the escrow
   account, we add the yearly escrow payments, and divide by 12. We take this amount and multiply it by 2 as allowed by state laws and/or the mortgage
   contract to determine the cash reserve.
Case 19-00189-RLM-13                            Doc           Filed 07/02/20                      EOD 07/02/20 Loan
                                                                                                               13:14:16
                                                                                                                    Number:
                                                                                                                                                            Pg
                                                                                                                                                            Page 36of of
                                                                                                                                                                      3  7

    Part 3 - Escrow account projections
   Escrow account projections from August, 2020 to July, 2021
                                             What we
                 Payments to                 expect to                                                                   Projected escrow       Balance required
   Date            escrow                     pay out         Description                                                    balance             in the account
   Jul 2020                                                   Starting balance                                                  $160.03                   $1,120.91
   Aug 2020           $224.18                      $0.00                                                                        $384.21                   $1,345.09
   Sep 2020           $224.18                      $0.00                                                                        $608.39                   $1,569.27
   Oct 2020           $224.18                    $705.36      MARION COUNTY (W)                                                 $127.21                   $1,088.09
   Nov 2020           $224.18                      $0.00                                                                        $351.39                   $1,312.27
   Dec 2020           $224.18                      $0.00                                                                        $575.57                   $1,536.45
   Jan 2021           $224.18                      $0.00                                                                        $799.75                   $1,760.63
   Feb 2021           $224.18                   $1,224.00     STATE FARM INS                                                   -$200.07                    $760.81
   Mar 2021           $224.18                      $0.00                                                                         $24.11                    $984.99
   Apr 2021              $224.18                  $760.81     MARION COUNTY (W)                                                -$512.52                   $448.36
   May 2021           $224.18                      $0.00                                                                       -$288.34                    $672.54
   Jun 2021           $224.18                      $0.00                                                                        -$64.16                    $896.72
   Jul 2021           $224.18                      $0.00                                                                        $160.02                   $1,120.90

   Totals           $2,690.16                   $2,690.17



    Part 4 - Escrow account history
   Escrow account activity from August, 2019 to July, 2020
                         Deposits to escrow                     Payments from escrow                                                      Escrow balance
      Date      Actual      Projected Difference            Actual   Projected Difference                Description           Actual        Projected Difference
   Aug 2019                                                                                           Starting Balance        -$2,766.85      $1,005.37      -$3,772.22
   Aug 2019      $225.99           $244.47      -$18.48        $0.00         $43.40        -$43.40    FHA Insurance           -$2,540.86      $1,206.44      -$3,747.30

   Aug 2019        $0.00            $0.00         $0.00       $43.40             $0.00      $43.40    FHA Insurance           -$2,584.26      $1,206.44      -$3,790.70

   Sep 2019      $234.90           $244.47        -$9.57       $0.00         $43.40        -$43.40    FHA Insurance           -$2,349.36      $1,407.51      -$3,756.87

   Sep 2019        $0.00            $0.00         $0.00       $43.40             $0.00      $43.40    FHA Insurance           -$2,392.76      $1,407.51      -$3,800.27

   Oct 2019        $0.00           $244.47     -$244.47        $0.00         $43.40        -$43.40    FHA Insurance           -$2,392.76     $1,608.58       -$4,001.34

   Oct 2019        $0.00            $0.00         $0.00      $705.36        $618.50         $86.86    MARION COUNTY (W)       -$3,098.12       $990.08      -$4,088.20

   Oct 2019        $0.00            $0.00         $0.00       $43.40             $0.00      $43.40    FHA Insurance            -$3,141.52      $990.08       -$4,131.60

   Nov 2019      $234.90           $244.47        -$9.57       $0.00         $43.40        -$43.40    FHA Insurance           -$2,906.62      $1,191.15      -$4,097.77

   Nov 2019        $0.00            $0.00         $0.00       $43.40             $0.00      $43.40    FHA Insurance           -$2,950.02      $1,191.15       -$4,141.17

   Dec 2019      $469.80           $244.47      $225.33        $0.00         $43.40        -$43.40    FHA Insurance           -$2,480.22      $1,392.22      -$3,872.44

   Dec 2019        $0.00            $0.00         $0.00       $43.40             $0.00      $43.40    FHA Insurance           -$2,523.62      $1,392.22      -$3,915.84

   Jan 2020      $234.90           $244.47        -$9.57       $0.00         $43.40        -$43.40    FHA Insurance           -$2,288.72      $1,593.29      -$3,882.01

   Jan 2020        $0.00            $0.00         $0.00       $43.40             $0.00      $43.40    FHA Insurance            -$2,332.12     $1,593.29      -$3,925.41

   Jan 2020        $0.00            $0.00         $0.00     $1,224.00            $0.00    $1,224.00   STATE FARM INS           -$3,556.12     $1,593.29      -$5,149.41

   Feb 2020      $234.90           $244.47        -$9.57       $0.00         $43.40        -$43.40    FHA Insurance            -$3,321.22     $1,794.36      -$5,115.58

   Feb 2020        $0.00            $0.00         $0.00        $0.00      $1,089.00      -$1,089.00   STATE FARM INS           -$3,321.22      $705.36       -$4,026.58

   Feb 2020        $0.00            $0.00         $0.00       $43.40             $0.00      $43.40    FHA Insurance           -$3,364.62       $705.36      -$4,069.98

   Mar 2020      $473.70           $244.47      $229.23       $43.40         $43.40          $0.00    FHA Insurance           -$2,934.32       $906.43       -$3,840.75

   Apr 2020        $0.00           $244.47     -$244.47        $0.00         $43.40        -$43.40    FHA Insurance           -$2,934.32      $1,107.50      -$4,041.82

   Apr 2020        $0.00            $0.00         $0.00      $760.81        $705.36         $55.45    MARION COUNTY (W)        -$3,695.13      $402.14       -$4,097.27

   Apr 2020        $0.00            $0.00         $0.00        $42.14            $0.00       $42.14   FHA Insurance            -$3,737.27      $402.14       -$4,139.41

   May 2020        $0.00           $244.47     -$244.47        $0.00         $43.40        -$43.40    FHA Insurance            -$3,737.27      $603.21      -$4,340.48

   May 2020        $0.00            $0.00         $0.00        $42.14            $0.00       $42.14   FHA Insurance            -$3,779.41      $603.21       -$4,382.62

   Jun 2020     $3,726.27          $244.47    $3,481.80        $0.00         $43.40        -$43.40    FHA Insurance              -$53.14       $804.28         -$857.42
   (estimate)

   Jul 2020       $213.17          $244.47       -$31.30       $0.00         $43.40        -$43.40    FHA Insurance              $160.03      $1,005.35       -$845.32
   (estimate)

   Totals       $6,048.53      $2,933.64       $3,114.89    $3,121.65     $2,933.66        $187.99




  Wells Fargo Home Mortgage is a division of Wells Fargo Bank, N.A. ©2019 Wells Fargo Bank, N.A. All rights
  reserved. NMLSR ID 399801 9/19
Case 19-00189-RLM-13   Doc   Filed 07/02/20   EOD 07/02/20 13:14:16   Pg 7 of 7
